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                                                                                                          ELECTRONICALLY FILED - 2021 Nov 24 11:34 AM - ANDERSON - COMMON PLEAS - CASE#2021CP0402275
 STATE OF SOUTH CAROLINA                           IN THE COURT OF COMMON PLEAS

 COUNTY OF ANDERSON                                THE TENTH JUDICIAL CIRCUIT


 Whitney Harrison,                                 Civil Action No.:

                                      Plaintiff,

                       v.                                            SUMMONS

 Ford Motor Company,                                           (Jury Trial Demanded)

                                  Defendants.

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,
a copy of which is hereby served upon you, and to serve a copy of your Answer to the said
Complaint upon the subscribers at 1717 Marion Street, Street, Columbia, South Carolina 29201,
within thirty (30) days after the service hereof, exclusive of the day of such service, and if you fail
to answer the Complaint within the time aforesaid, Plaintiff will apply to the Court for the relief
demanded in the Complaint and judgment by default will be rendered against you for the relief
demanded in the Complaint.




                                       Signature page follows




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                                       Respectfully submitted,

                                       s/ Joseph O. Thickens
                                       Joseph O. Thickens, S.C. Bar No. 101398
                                       J. Eric Cavanaugh, S.C. Bar No. 100044
                                       William H. Yarborough, Jr., S.C. Bar No. 102868
                                       Cavanaugh & Thickens, LLC
                                       1717 Marion Street (29201)
                                       Post Office Box 2409
                                       Columbia, SC 29202
                                       Tel: (803) 888-2200
                                       Fax: (803) 888-2219
                                       Joe@ctlawsc.com
                                       Eric@ctlawsc.com
                                       will@ctlawsc.com

                                       AND

                                       Andrew L. Johnson | andrew@littlejohn.law
                                       S.C. Bar No. 101536
                                       LITTLEJOHN LAW LLC
                                       1201 Main Street, Suite 1830
                                       Columbia, South Carolina 29201
                                       p. 803.764.4099
                                       f. 803.974.4070


Columbia, South Carolina
November 24, 2021




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 STATE OF SOUTH CAROLINA                          IN THE COURT OF COMMON PLEAS

 COUNTY OF ANDERSON                               THE TENTH JUDICIAL CIRCUIT


 Whitney Harrison,                                Civil Action No.:

                                     Plaintiff,

                       v.                                         COMPLAINT

 Ford Motor Company,                                         (Jury Trial Demanded)

                                  Defendant.

       Now comes the Plaintiff, above-named, complaining of the Defendant, above-named, and

does allege:

       1.      Plaintiff Whitney Harrison (hereinafter referred to as “Plaintiff”) is a citizen and

resident of Anderson County, South Carolina.

       2.      That Defendant Ford Motor Company (hereinafter “Ford”) is a foreign corporation

engaged in the manufacture and sale of passenger vehicles; that Ford sells its vehicles in South

Carolina through a dealership network with the intent that its vehicles would be purchased and

used in South Carolina; that Ford manufactured and placed the vehicle which is the subject of this

action, a 2012 Ford Escape, VIN: 1FMCU0D78CKA81343 (“subject vehicle”), into the stream of

commerce with the reasonable expectation that it could be used upon the roadways of South

Carolina and involved in an accident therein.

       3.      The South Carolina Long Arm Statute authorizes this Court to exercise jurisdiction

over this matter as it involves injuries to residents of South Carolina by a product that was placed

into the stream of commerce where it was expected that it could be used within South Carolina.

       4.      That Ford has, in a systematic and continuous manner, purposefully availed itself

of the benefits and protections of the laws of South Carolina by registering to do business, setting


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up a dealership network utilizing the laws pertaining to automobile dealerships, advertising on

airways in South Carolina, marketing its vehicles via print advertising in South Carolina, utilizing

the roadways of South Carolina to deliver its vehicles and parts, and utilizing the Courts in South

Carolina to enforce contracts, along with other activities. Ford’s numerous activities in South

Carolina are such that it could reasonably foresee defending a lawsuit in South Carolina where one

of its products causes injury in South Carolina and such that maintenance of this suit is both fair

and reasonable and in keeping with due process.

        5.      Defendant is subject to the jurisdiction of this Court by and through their

commission of a tortious act within the territorial limits of the State of South Carolina pursuant to

S.C. Code Ann. §§ 36-2-802, 803.

        6.      Venue is proper pursuant to §15-7-30 of the South Carolina Code of Laws.

        7.      The Court has subject matter jurisdiction over this matter and in personam

jurisdiction over the parties.

                                              FACTS

        8.      On or about February 22, 2021, Plaintiff drove the subject vehicle to a family

member’s residence in Anderson County, South Carolina with her young child in the rear seat.

        9.      Plaintiff parked the subject vehicle and exited to help her child inside the house

while leaving her keys in the ignition. Plaintiff believed that the subject vehicle was in park at the

time she exited the car.

        10.     Plaintiff returned from inside the residence to retrieve her keys. When she opened

the car door and reached inside, the subject vehicle suddenly and without warning began to roll

backwards.




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        11.        The subject vehicle dragged Plaintiff backwards down the driveway and crashed

violently into a fence across the road.

        12.        Upon information and belief, the subject rollback incident is a known issue with

vehicles of similar make and model to the subject vehicle and can occur when a vehicle is left in

gear or not fully shifted into ‘Park’.

        13.        Upon information and belief, at the time of the manufacture of the vehicle,

Defendant had an audible warning device/indicator that a vehicle was in gear available to equip

on its vehicles.

        14.        Upon information and belief, at the time of the manufacture of the vehicle,

Defendant installed audible warning devices/indicators that a vehicle was in gear on other vehicles

manufactured and sold by said Defendant.

        15.        At the time of this incident, the subject vehicle was not equipped with any visible

or audible warning to indicate that vehicle was in gear, or not in ‘Park’, when a driver attempted

to remove the key.

        16.        Upon information and belief, Defendant did not equip the subject vehicle with an

audible warning device/indicator that a vehicle was in gear in an effort to avoid production costs.

        17.        Despite having actual or constructive knowledge of this condition, Defendant failed

to issue a recall or safety advisory to consumers including the Plaintiff regarding this dangerous

defect prior to Plaintiff’s injury, and/or to properly instruct users including the Plaintiff on how to

safely operate the subject vehicle.

        18.        As a result of being dragged and violently colliding with the fence, Plaintiff

suffered serious and debilitating injuries including a fractured spine and numerous other fractures

and dislocated bones.




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       19.     The injuries and damages to Whitney Harrison were due to and proximately caused

by the grossly negligent and reckless conduct of the Defendants in the following particulars.

                              FOR A FIRST CAUSE OF ACTION
                                (Negligence/Gross Negligence)

       20.     The allegations contained in the foregoing paragraphs are incorporated herein by

reference as if realleged verbatim.

       21.     At all times referenced herein, Plaintiff was using the vehicle as it was intended to

be used.

       22.     At all times herein, Plaintiff was exercising due care for her own safety.

       23.     The vehicle sold to Plaintiff was defective, unfit for its intended purpose, and

unreasonably dangerous.

       24.     Plaintiff was unaware of the defective and unfit qualities of this vehicle until after

it had been used and relied upon by Plaintiff for its intended purpose.

       25.     As a direct result of the defective and unreasonably dangerous vehicle sold to

Plaintiff by the Defendant, Plaintiff has suffered serious and permanent injuries.

       26.     Defendant is engaged in the business of manufacturing and/or selling vehicles

including the subject vehicle to the public for a profit.

       27.     Defendant owed certain duties of care to the Plaintiff and to the public at large.

       28.     These duties include, but are not limited to, responsibility for the proper design,

manufacture and sale of their products in a safe working condition, fit for all intended and

foreseeable uses so as not to expose the users of their products to harm.

       29.     Defendant breached its duties owed to Plaintiff by improperly designing,

manufacturing and selling to Plaintiff a vehicle that was defective, unfit for its intended purpose,

and/or unreasonably dangerous.



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        30.     Defendant knew or should have known the importance of designing, manufacturing

and selling products which were free of hazardous conditions and defects to the ultimate

purchasers.

        31.     Defendant failed to exercise due care with regard to the design, manufacture,

testing, and sale of the subject vehicle sold to Plaintiff, all in breach of the duties owed to Plaintiff.

        32.     Defendant was careless, negligent, grossly negligent, reckless, willful, and wanton

in one or more of the following ways:

              a. Failing to properly design and manufacture a reasonably safe product;

              b. Failing to utilize available warning/safety features that would have prevented the

                  accident;

              c. Failing to properly design and manufacture and product fit for its intended use;

              d. Providing and selling a product to Plaintiff that was defective, unfit for its

                  intended use, and unreasonably dangerous;

              e. Failing to exercise that degree of care and caution that a reasonable manufacturer

                  or seller would have exercised under the same or similar circumstances; and

              f. Such other and further particulars as may be demonstrated by the evidence at trial.

        33.     As a direct and proximate result of the careless, negligent, grossly negligent,

reckless, willful, and wanton conduct of the Defendant described herein, Plaintiff has suffered

injury and other damages including some or all of the following:

              g. Physical injury;

              h. Medical expenses;

              i. Mental anguish;

              j. Emotional distress;




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             k. Permanent impairment of health;

             l. Disfigurement;

             m. Pain and suffering;

             n. Loss of enjoyment of life;

             o. Loss of income;

             p. Loss of earning capacity; and,

             q. Such other damages as may be shown by the evidence produced at trial.

       34.     Plaintiff is entitled to judgment against the Defendant for actual damages, punitive

damages, the costs of this action, pre-judgment interest, post-judgment interest, and for such other

and further relief as this Court deems just and appropriate.

                           FOR A SECOND CAUSE OF ACTION
               (Strict Products Liability – S.C. Code Ann. Sec.15-73-10 et seq.)

       35.     The allegations contained in the foregoing paragraphs are incorporated herein by

reference as if realleged verbatim.

       36.     At all times relevant herein, Defendants were engaged in the business of selling

products such as the vehicle sold to Plaintiff.

       37.     At all times relevant herein, Defendants sold a vehicle to Plaintiff that was defective

and unreasonably dangerous in that it failed to utilize available warnings.

       38.     Defendants sold and delivered this defective vehicle to Plaintiff without substantial

change in its condition from the time it left the Defendants and ultimately arrived to Plaintiff.

       39.     As a direct and proximate result of the defective and unreasonably dangerous

product manufactured and sold by the Defendant to Plaintiff, Plaintiff suffered injuries and other

damages as previously set forth herein.




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         40.      Defendant is strictly liable to Plaintiff for the harm resulting to her in connection

with the subject motorcycle pursuant to S.C. Code Ann. Sec.15-73-10 et seq. and other applicable

law.

         41.      Plaintiff is entitled to actual and punitive damages, the costs of this action,

prejudgment interest, post-judgment interest, and for such other and further relief as this Court

may deem just and appropriate.


         WHEREFORE, Plaintiff prays for judgment against Defendant for actual, special,

consequential and punitive damages to be determined in accordance with law, including,


               (a) costs and attorney’s fees;

               (b) actual, special, consequential and punitive damages;

               (c) pre and post judgment interest at the legal rates;

               (d) such further relief as the Court may deem just and proper.




                                          Signature page follows




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                                        Respectfully submitted,

                                        s/ Joseph O. Thickens
                                        Joseph O. Thickens, S.C. Bar No. 101398
                                        J. Eric Cavanaugh, S.C. Bar No. 100044
                                        William H. Yarborough, Jr., S.C. Bar No. 102868
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                                        AND

                                        Andrew L. Johnson | andrew@littlejohn.law
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                                        LITTLEJOHN LAW LLC
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                                        f. 803.974.4070

                                        ATTORNEYS FOR PLAINTIFF

Columbia, South Carolina
November 24, 2021




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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    12/02/2021
                                                                                                    CT Log Number 540678658
TO:         Chuck Morici
            Ford Motor Company
            1 American Rd
            Dearborn, MI 48126-2798

RE:         Process Served in South Carolina

FOR:        Ford Motor Company (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Whitney Harrison // To: Ford Motor Company
DOCUMENT(S) SERVED:                               Summons, Complaint
COURT/AGENCY:                                     Anderson County Court of Common Pleas, SC
                                                  Case # 2021CP0402275
NATURE OF ACTION:                                 Product Liability Litigation - Personal Injury - 2012 Ford Escape, VIN:
                                                  1FMCU0D78CKA81343
ON WHOM PROCESS WAS SERVED:                       CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                         By Process Server on 12/02/2021 at 12:37
JURISDICTION SERVED :                             South Carolina
APPEARANCE OR ANSWER DUE:                         Within 30 days after the service hereof, exclusive of the day of such service
ATTORNEY(S) / SENDER(S):                          Joseph O. Thickens
                                                  Cavanaugh & Thickens, LLC
                                                  1717 Marion Street (29201)
                                                  Post Office Box 2409
                                                  Columbia, SC 29202
                                                  803-888-2200
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 12/03/2021, Expected Purge Date:
                                                  12/08/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  2 Office Park Court
                                                  Suite 103
                                                  Columbia, SC 29223
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
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